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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
   PEDRO HECTOR SALCEDO,                 §
   No.31227-177,                         §
                Defendant- Movant,       §
                                         §
   v.                                    § No. 3:03-CR-0355-M
                                         § (No. 3:05-CV-0492-M)
   UNITED STATES OF AMERICA,             §
                Plaintiff- Respondent.   §

               FINDINGS, CONCLUSIONS AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
          Pursuant to the provisions of 28 U.S.C. §636(b), and an order of the Court in

   implementation thereof, the subject cause has previously been referred to the undersigned

   United States Magistrate Judge. The Findings, Conclusions, and Recommendation of the

   Magistrate Judge, as evidenced by his signature thereto, are as follows:

   Findings and Conclusions

   Type Case
         This is a motion to vacate or set aside sentence filed pursuant to 28 U.S.C. §2255.

   Statement of the Case

          On December 5, 2003, pursuant to a plea agreement Movant plead guilty to a

   violation of 21 U.S.C. § 846, conspiracy with intent to distribute, and to distribute

   marijuana, as charged in count one of the indictment. On March 10, 2004 he was

   sentenced to a term of fifty-eight months imprisonment followed by a four year term of

   supervised release and a one hundred dollar special assessment. In accordance with the

   terms of the agreement the remaining counts of the indictment against Salcedo were

   dismissed on motion of the government. He did not file a direct appeal from his

   conviction and sentence.




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           Movant’s timely §2255 motion was filed on March 10, 2005. Process has not

    been issued in this case.

    Findings and Conclusions

           Movant alleges that his conviction was obtained by a plea of guilty that was

    involuntarily given, that his conviction was obtained by the use of evidence obtained

    pursuant to an unlawful arrest, that his conviction was obtained by a violation of the

    privilege against self-incrimination, that his conviction was obtained by a violation of the

    protection against double jeopardy, that he was denied the effective assistance of counsel,

    and that he was denied the right to appeal.

           Movant waived his right to appeal or to file a § 2255 motion except for on certain

    specified grounds1 as part of his plea agreement. (See Plea Agreement at 4-5). There is

    no indication in the record that Salcedo’s plea was involuntary. (See Tr. of

    Rearraignment Hearing Before the Honorable Barbara M. G. Lynn U.S. District J. at 16-

    18). Therefore, he “will be held to the bargain to which he agreed.” United States v.

    Portillo, 18 F.3d 290, 293 (5th Cir. 1994); see also United States v. McKinney, 406 F.3d

    744, 746 (5th Cir. 2005). Thus, the only issue Movant can raise in this proceeding is that

    of ineffective assistance of counsel.

           Salcedo’s attorney’s conduct is governed by the standards set out in Strickland v.

    Washington, 466 U.S. 668, 104 S.Ct. 2052 (1984). There is a strong presumption that an

    attorney’s conduct falls within the broad range of reasonable professional assistance

    required under the Sixth Amendment. Id. at 690, 104 S.Ct at 2065. To overcome this

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 He reserved the right to “bring (a) a direct appeal of (i) a sentence exceeding the statutory
maximum punishment, (ii) an upward departure from the guideline range deemed applicable by
the district court, or (iii) an arithmetic error at sentencing, and (b) a claim of ineffective
assistance of counsel.”(Plea Agreement at 5).


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   presumption a habeas movant must establish that the attorney’s conduct was

   constitutionally deficient (cause) and that but for such unprofessional errors the result

   probably would have been different (prejudice). Failure to prove either prong of the two

   part test forecloses relief. Id at 698, 104 S.Ct. at 2069.

             Salcedo alleges that his attorney was ineffective because he erroneously informed

   him that he would have to wait a year before appealing his conviction. However, Movant

   had the right to bring a direct appeal for only three reasons besides ineffective assistance

   of counsel, and he does not allege that any of those three circumstances existed in this

   case. Therefore he has failed to show that his attorney’s alleged error prejudiced him.

   See, e.g., Lockhart v. Fretwell, 506 U.S. 364, 372, 113 S.Ct. 838, 844

   (1993)(“Unreliability or unfairness does not result if the ineffectiveness of counsel does

   not deprive the defendant of any substantive or procedural right to which the law entitles

   him.”).

   RECOMMENDATION

             Movant has failed to show that he is entitled to relief pursuant to 28 U.S.C. §

   2255. It is therefore recommended that the petition be denied and dismissed.

             A copy of this recommendation shall be transmitted to Movant.

   Signed this 24th day of June, 2005.




                                                           _________________________
                                                           Wm. F. Sanderson Jr.
                                                           United States Magistrate Judge

                                                 NOTICE
           In the event that you wish to object to this recommendation, you are hereby
   notified that you must file your written objections within ten (10) days after being served



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   with a copy of this recommendation. Pursuant to Douglass v. United Servs. Auto Ass’n,
   79 F.3d 1415 (5th Cir. 1996)(en banc), a party’s failure to file written objections to these
   proposed findings of fact and conclusions of law within such ten (10) day period may bar
   a de novo determination by the district judge of any finding of fact and conclusion of law
   and shall bar such party, except upon grounds of plain error, from attacking on appeal the
   unobjected to proposed findings of fact and conclusions of law accepted by the district
   court.




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